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                            United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION


UNITED STATES OF AMERICA                         §
                                                 §
versus                                           § CRIMINAL ACTION NO. 4:22cr110
                                                 §
MICHAEL LEWAYNE HILL (1)                         §
ANDREW CHARLES MORAN (2)                         §
TY ALAN BURKHART (4)                             §
JASON LAWRENCE GEIGER (5)                        §
ERIC REED MARASCIO (6)                           §
CHRISTOPHER LEE MCELFRESH (7)                    §
ELMER OMAR AYALA (9)                             §
GREGORY HATLEY, JR. (10)                         §
ALEXANDER ERIC CORTESANO (11)                    §
ARTHUR ATIK PONGTARATIK (12)                     §
FABIAN C. HERNANDEZ (14)                         §
DANIEL LEE WARREN (15)                           §
RAJAA BENSELLAM (16)                             §
HADI MOHAMMED TAFFAL (17)                        §
JONATHON JAMES SPENCER (19)                      §


                               AMENDED PRE-TRIAL ORDER

      This case is set for Final Pre-Trial Conference on      November 7, 2022,     at 9:00 a.m.
in Courtroom #105, United States Courthouse, 7940 Preston Road, Plano, Texas, at which time the
case will either proceed to Jury Selection and Trial, or a date will be set for Jury Selection and
Trial.
                   16                                        November 7, 2022      44871


      The following deadlines shall apply in this case.

      October 3, 2022            Any motion to suppress evidence shall be filed with the court.


      October 17, 2022           Any motion for continuance shall be filed with the court.


      October 28, 2022           Counsel for the Government shall deliver to counsel for
                                 Defendant(s) proposed jury instructions.
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     October 17, 2022           Notification of a plea agreement shall be by email, hand delivery
      By 4:00 PM               or fax of a signed copy of the plea agreement and factual basis for
                               the plea. Notification that the case will proceed to trial may be by
                               email or telephone. After this deadline, no plea agreement will
                               be honored by the court, and Defendant may not receive a
                               points reduction for acceptance of responsibility.

     October 31, 2022          If the parties do not notify the Court of a plea agreement as
                               provided above, defense counsel shall deliver to counsel for the
                               Government any additional jury instructions desired by
                               Defendant(s). If two or more Defendants are represented by
                               separate counsel, their submission must be made jointly.

     October 31, 2022          Counsel for Defendant(s) and counsel for the Government shall
                               confer to determine which jury instructions can be agreed upon.

     October 31, 2022          Parties shall file any motions in limine and any other pretrial
                               motions.


     October 31, 2022          Counsel for the Government and counsel for the Defendant(s) shall:



           A.   Jointly file agreed upon instructions;

           B.   Each file any proposed instructions that were not agreed upon, citing the authority
                for each instruction. (Any party seeking to file proposed jury instructions after the
                deadline may do so only with leave of Court.);

           C.   Each file any objections to the other’s proposed jury instructions. Objections must
                be written, specific, cite authority, and include any alternate instructions counsel
                deem more appropriate;

           D.   Each file proposed voir dire questions;

           E.   If counsel believes that a written response to a particular motion in limine is
                needed, file it as soon as possible;
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          F.   Each provide the court a list of witnesses, a list of exhibits anticipated to be
               introduced during trial, and a copy of each marked exhibit. All exhibits to be used
               for trial shall be pre-marked numerically and in succession. (Groups of exhibits
               pertaining to the same subject matter, such as photos of same scene, may, at
               counsel’s discretion be numbered and lettered, i.e., 2a, 2b, 2c, etc.) Counsel shall
               provide the Court the original and two (2) copies of each list and marked exhibit.

           So ORDERED and SIGNED this 14th day of June, 2022.




                                                             ____________________________________
                                                             SEAN D. JORDAN
                                                             UNITED STATES DISTRICT JUDGE
